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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________


DIANE CONMY and MICHAEL B. REITH,

               Plaintiffs,

v.                                                                     Case No. 4:04-CV-105

AMTRAK, CITY OF KALAMAZOO, JOHN                                        HON. GORDON J. QUIST
DOE and LAMPOON, INC.,

            Defendants.
______________________________________/

                                              OPINION

       This case arises out of a fatal collision between a car driven by decedent Erica Reith and an

Amtrak passenger train. Plaintiffs Diane Conmy and Michael Reith, co-personal representatives of

the estate of Erica Reith, contend that the accident was caused by the failure of a signal light erected

at the intersection of a railroad track and a public street where Reith was traveling. Plaintiffs sued

the City of Kalamazoo, John Doe (an employee of the City of Kalamazoo), and Lampoon Inc., owner

of a Jimmy John’s restaurant, out of whose parking lot Reith was exiting when she was struck by the

train. Plaintiffs have settled their claims against all parties save Amtrak. Plaintiffs’ claim against

Amtrak is grounded upon two theories. First, Plaintiffs maintain that Amtrak had a duty (which it

breached) to inspect and maintain the warning device that was not working at the time of the

accident. Second, Plaintiffs assert that because Amtrak knew that the warning signal did not work,

it had a duty (which it breached) “to operate its train in a manner which would have allowed it to

avoid the collision given the non-working status of the signal.” (Pls.’ Resp. Amtrak’s Mot. Partial


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Summ. J. at 2.) Amtrak has moved for summary judgment with respect to Plaintiff’s first theory.

For the following reasons, the Court will deny Amtrak’s motion for partial summary judgment.

                                           Background

       On July 8 th, 2003, Erica Reith, a 19 year-old college student, upon turning left out of a Jimmy

John’s parking lot, was struck by an Amtrak train at a railroad grade crossing over W. Michigan Ave.

in Kalamazoo, Michigan. Half-roadway gates and flashing lights prevent traffic from proceeding

on W. Michigan Ave. over this grade crossing when the crossing is in use. These roadway gates and

flashing lights were installed pursuant to an order of the Michigan Public Service Commission in

1963, after it received a request from the Michigan State Highway Department for approval of these

warning devices. (Pls.’ Resp. Amtrak’s Mot. Partial Summ. J. Ex. 1 Attachment B.) The half-

roadway gates and flashing lights, however, do not prevent a vehicle turning left out of the Jimmy

John’s parking lot in order to proceed east on W. Michigan Ave. from crossing the tracks. This is

so because the half-roadway gate and flashing lights intended to prevent traffic from proceeding east

on W. Michigan Ave. when the crossing is in use are located 120 feet west of the parking lot exit.

To remedy this problem, the Railroad Safety Inspection Section of the Michigan State Highway

Department recommended in March 1978 that a “No Left Turn” when flashing signal be placed

“immediately south of West Michigan Avenue facing motorists coming out of the [parking lot] onto

Michigan Ave.” (Id. Ex. 1 Attachment A.) The City of Kalamazoo ultimately installed such a signal

in February 1979. (Id. Ex.1 Attachments C and D.) On July 8, 2003, when Reith turned left out of

the parking lot, the “No Left Turn” signal was not operating. As she was making her left turn into

the right lane to proceed east on W. Michigan Ave., an Amtrak passenger train traveling northeast

across W. Michigan Ave. struck Reith’s car. Reith died six days later as a result of the injuries she


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sustained in the collision.

                                             Discussion

       Summary judgment is appropriate if there is no genuine issue as to any material fact and the

moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c). Material facts are

facts which are defined by substantive law and are necessary to apply the law. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 2510 (1986). A dispute is genuine if a reasonable

jury could return judgment for the non-moving party. Id. The court must draw all inferences in a

light most favorable to the non-moving party, but may grant summary judgment when “the record

taken as a whole could not lead a rational trier of fact to find for the non-moving party.” Agristor

Fin. Corp. v. Van Sickle, 967 F.2d 233, 236 (6th Cir. 1992) (quoting Matsushita Elec. Indus. Co.,

Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 1356 (1986)).

        Amtrak asserts that it is entitled to summary judgment on Plaintiffs’ claim that Amtrak had

a duty to maintain the “No Left Turn signal. Amtrak cites M.C.L. § 257.668(2) which reads:

        The erection of or failure to erect, replace, or maintain a stop or yield sign or other railroad
        warning device, unless such devices or signs were ordered by public authority, shall not be
        a basis for an action of negligence against the state transportation department, county road
        commissions, the railroads, or local authorities.

Amtrak maintains that this statute provides that “no negligence action may be instituted against [it

for] any alleged failure to install or maintain [the ‘No Left Turn’ signal] in the absence of an order

requiring such action by the Michigan Department of Transportation (MDOT).” (Br. Supp.

Amtrak’s Mot. Partial Summ J. at 2.) Since MDOT never issued an order with respect to either the

installation or maintenance of the “No Left Turn” signal, Amtrak concludes, it is entitled to summary

judgment with respect to Plaintiffs’ claim that it had a duty to maintain the signal.



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         Plaintiffs, in response, offer a number of arguments in an attempt to establish that a question

of fact exists as to whether MDOT did issue an order with respect to the “No Left Turn” signal.1 The

Court finds these arguments unpersuasive. First, Plaintiffs maintain that a document entitled “Report

of March 23, 1978 Investigation,” (Pls.’ Resp. Amtrak’s Mot. Partial Summ. J. Ex. 1 Attachment

A.), constitutes an order from MDOT. Plainly, this document is what it purports to be: a Railroad

Safety Inspection Section investigator’s report of his investigation. In this report, it is true, the

investigator does recommend that a “No Left Turn” signal be placed south of W. Michigan Ave.

facing motorists coming out of the parking lot. It is not, however, an order from MDOT directing

the installation or maintenance of the “No Left Turn” signal.

         Plaintiffs also argue that MDOT’s order of 1963, which ordered the erection of flashing lights

and the placement of half-roadway gates to prevent traffic on W. Michigan Ave. from traveling

through the railroad grade crossing when the crossing is in use, could apply to subsequently installed

devices, including the “No Left Turn” signal, which was installed in early 1979. Besides this

conclusory assertion, Plaintiffs offer no support for this argument. The 1963 order relates simply

to the installation of the half-roadway gates and flashing light signals that were installed pursuant



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            The Co urt concludes that whether a public authority ordered the erection of a warning device is a question
of fact. If the statute had d efined what co nstitutes an order, and if a document exists that a party purports constitutes an
order, then it would be a question of law as to whether that document is an order as defined by the statute. In this case,
however, the word “order,” as used in M.C.L. § 25 7.668(2), is not defined in the statute. Plaintiffs note that the Railroad
Code of 199 3, M .C.L. § 462.107(4 ), does define “order,” and they maintain that this definition should serve as the
definition of “ord er” as used in M.C.L. § 25 7.668(2). The wo rd “order,” as defined in M.C.L. § 462.107(4 ), cannot serve
as the definition of “order” as used in M.C.L. § 257.66 8(2) for two reasons. First, the language in M.C.L. § 257.668(2)
“unless such devices or signs were o rdered by public autho rity” was adde d in 19 80. The Railroad C ode, in which “order”
is defined, was not enacted until 1993. It is implausible to conclude that a statute enacted in 1993 could provide the
definition of a word in a statute written in 1980. Second, M .C.L. § 462.107(4 ) defines “Order” as an “administrative
doc ument, signed by the department director or his or her designee.” The statute defines “department” to mean “the
Michigan Departm ent of T ransp ortation.” M .C.L. § 462.105(4). Thus, an “Order,” as defined by this statute, is one that
is issued only by the Michigan Department of Transportation. However, as explained below, M.C.L. § 257.668(2) does
not limit the public authority that can order the erection of a warning device to MDOT.

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to this order. This order cannot be construed as an MDOT order with respect to the “No Left Turn”

signal, which was installed 16 years after the issuance of this order.

       Finally, Plaintiffs claim that an MDOT order for the installation of the “No Left Turn” signal

was likely issued, but MDOT may have purged the record. In support of this contention, Plaintiffs

note that in response to a Freedom of Information Act request seeking a directive from MDOT to

place a “No Left Turn” sign at the railroad crossing, the state explained that no such document could

be found and that the document may have been purged from the government’s records. (Pls.’ Resp.

Amtrak’s Mot. Partial Summ. J. Ex. 1 Attachment E.) Plaintiffs further note that the transmittal

cover page to the 1978 investigation report provided that since the “No Left Turn” signal is

considered a construction improvement, “a Commission Order [would] be drafted for compliance

. . . within thirty days.” Plaintiffs argue, then, that MDOT likely did issue an order with respect to

the “No Left Turn” signal, but the order was probably purged from the government’s records.

       This argument fails to create an issue of fact as to whether MDOT issued an order with

respect to the “No Left Turn” signal. First, both the former and current Manager of the Rail Safety

Section of MDOT testified that had such an order been issued, it would have been maintained.

(Becker Aff. ¶ 5(b); Hissong Aff. ¶ 4(b).) The current manager of MDOT’s Rail Safety Section

testified that “[a]s a matter of policy, MDOT does not ‘purge’ or otherwise destroy an Order issued

by MDOT relating to the installation of any type of warning device at a public railroad grade

crossing in the State of Michigan.” (Hissong Aff. ¶ 4(c).) Moreover, Plaintiffs admit that they

received the 1963 order, which relates to the same crossing where the “No Left Turn” signal was

installed, from MDOT. (Aff. Konning ¶ 7.) The existence of the 1963 order belies Plaintiffs’

contention that MDOT purged an order issued in 1978 or 1979.


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       Although the Court agrees with Amtrak that Plaintiffs have failed to show that a question of

fact exists as to whether MDOT issued an order relating to the “No Left Turn” signal, Amtrak is

incorrect to the extent it maintains that, pursuant to M.C.L. § 257.668(2), for a plaintiff to prosecute

a negligence action against a railroad for failure to maintain a warning sign, MDOT must have been

the public authority that ordered the warning sign. The statute does not define “public authority.”

The Michigan courts interpreting this statute, however, have concluded that “public authority” means

any public authority. Edington v. Grand Trunk W. R.R. Co., 165 Mich. App. 163, 168, 418 N.W.2d

415, 417 (1987). In Edington, a wrongful death action arising out of an automobile-train collision

that occurred at a railroad crossing located on a county road under the exclusive jurisdiction and

control of the county, plaintiffs sued the county road commission alleging that it was negligent in

failing to “install . . . devices adequate to warn motorists of an approaching train.” Id. at 165, 418

N.W.2d at 416. The county road commission moved for summary judgment pursuant to M.C.L. §

257.668(2) on the ground that no public authority had ordered the installation of a warning device

at the subject crossing. Id. The trial court concluded that the statute did not protect the road

commission from suit for failure to install a warning device where it was the authority responsible

for determining the need for such signs. Id. at 166, 418 N.W.2d at 416. Rather, the trial court

continued, the statute protects the road commission only where “some other agency was the ‘public

authority’ who could order the erection of . . . warning devices.” Id. The court of appeals disagreed,

holding that the plain language of the statute indicates that “public authority” means any public

authority. Id. at 168, 418 N.W.2d at 417. Thus, a public authority that erects a warning device need

not have been ordered by a different (higher-up) public authority for the warning device to have been

ordered by public authority. Rather, a public authority may “order a warning device” when it itself


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decides to install a warning device.

          In this case, a question of fact exists as to whether Kalamazoo ordered the installation of the

“No Left Turn” signal. To find that a public authority ordered the installation of a warning device,

there are no technical requirements with respect to what constitutes an “order.” As noted above, the

statute does not define “order” as used in M.C.L. § 257.668(2). Webster defines “order” as “to

require or direct (something) to be done.” Webster’s Third New International Dictionary 1588

(1971).     In a memo dated October 4, 1978, Kalamazoo’s assistant city engineer informed

Kalamazoo’s city manager of the Railroad Safety Inspection Section investigator’s report in which

the investigator recommended that a “No Left Turn” signal be installed on Michigan Ave. facing the

subject commercial parking lot. (Pls.’ Resp. Amtrak’s Mot. Partial Summ. J. Exhibit 1 Attachment

D.) The memo notes that the owner of the commercial property whose patrons the “No Left Turn”

signal was designed to protect agreed to share the cost for the installation of the warning device with

the City. (Id.) Moreover, on March 12, 1979, in a response to a letter from the Railroad Safety

Inspection Section investigator who recommended that the “No Left Turn” signal be installed (who

apparently inquired into the reasons for the delay in the installation of the “No Left Turn” signal),

Kalamazoo’s assistant city engineer responded:

          It might be pointed out that the time span between ordering and implementing this
          installation was mainly occasioned by preparation and ratification of a cost sharing
          agreement between City and owner of the commercial driveway, dealings with the power
          company regarding power, scheduling Conrail’s signal hook-up, and winter weather.

(Id. Exhibit 1 Attachment C.) (emphasis added). Thus, since a question of fact exists as to whether

Kalamazoo directed or ordered the installation of the “No Left Turn” signal, M.C.L. § 257.668(2)

does not preclude the prosecution of a negligence action against Amtrak for its alleged failure to



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maintain the “No Left Turn” signal.

       The Court notes that simply because M.C.L. § 257.668(2) is not a bar to the prosecution of

Plaintiffs’ sign maintenance claim does not mean that Amtrak therefore had a duty to maintain the

signal. But this argument is for another day, as Amtrak moved for summary judgment only on the

ground that M.C.L. § 257.668(2) precluded the prosecution of a negligence action against it for

failing to maintain the “No Left Turn” signal. Amtrak has not moved for summary judgment on the

ground that it did not have a duty to maintain the “No Left Turn” signal.

                                           Conclusion

       Since the Court concludes that an issue of fact exists as to whether the City of Kalamazoo

ordered the installation of the “No Left Turn” signal, M.C.L. § 257.668(2) does not preclude the

prosecution of a negligence action against Amtrak for failure to maintain the signal. Therefore,

Amtrak’s motion for partial summary judgment will be denied.

       An Order Consistent with this Opinion will be entered.

Dated: November 22, 2005                                   /s/ Gordon J. Quist
                                                          GORDON J. QUIST
                                                     UNITED STATES DISTRICT JUDGE




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